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                                                                                  FILED IN THE
Rosy S. Esprecion                                                         UNITED STATES DISTRICT COURT
91-668 Kilaha Street, Apt. 1-3                                                DISTRICT OF HAWAII
Ewa Beach, Hawa ii 96706
                                                                                  APR 0 8 2019
April 5 , 2019
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                                                                               SUE BEITIA, CLERK
Magistrate Judge Richard L. Puglisi
U.S. District Court
300 Ala Moana Blvd, #C-338
Honolulu, Hawaii 96850

Re: Anthony T. Williams                           CR17 00101 LEK
    FDC-Honolulu #: 05963-122

To the Honorable Magistrate judge Puglisi,

My name is Rosy S. Esprecion, a trusted family friend of Mr. Anthony T. Williams, an inmate at FDC
Honolulu. This urgent letter is to inform you and my hope is to make you aware about my·concerns in
regards to the maltreatments, harassments, prejudices, oppressions and retaliations that Mr. Williams
has been and continued to receive from the FDC Staff. I am a witness to what is being done to Mr.
Williams while being incarcerated in the FDC Honolulu, as evidence by the following:

    1.   USPS mail and Certified mail issues: (See Exhibit 1).
         a. Overnight USPS Legal mails confirmed delivery by the post office the overnight. However,
            these mails are not given to Mr. Williams 4-6 days AFTER FDC mailroom received it.
         b. Certified mail with returned rece ipt also confirmed and overnight de livery by the post office,
            however, mails were NOT signed and received by Mr. Williams in the presence of FDC staff.
            FDC staff signed for it and would not date it when it was received. Also, given to Mr.
            Williams 4-6 days AFTER FDC mail room received it.
         c. All of Mr. Williams' Legal mails are opened and removed from its original envelope Without
            Mr. W illiams' presence, despite a written notice in front of the envelope: " 28CFR File 43.11.
            Legal mail, please open in the presence of Mr. Williams." FDC mailroom staff continues to
             violate this.
    2.   Since January 2019, USPS mail that weighs greater than 16oz, were being rejected by FDC
         mailroom staff, (See Exhibit 2).
                  • Entire year of 2018, USPS mails weighs greater than 16oz were never rejected by
                      FDC mailroom staff.
                  • I inquired at the post office on what is the maximum weight of USPS mail allowed,
                      and they stated that it could be up to 70 lbs.

    3.   Issues on Mr. William's emails: (See Exhibit 3).
         a. The entire yea r of 2018 and since January 2019, his emails continued to be sent out to his
             friends and family members 2-5 days AFTER he sent it.
         b. Emails FROM his family and friends during the entire year of 2018 and starting January 2019
             to date, continues to be forwarded to Mr. Williams 2-5 days later and he is not receiving
             any emails on Saturdays, Sundays and holidays, to date. Whereas, the other inmates in his
             unit receives email within two hours after their email was sent out and receives their emails
             on Weekends and Holidays.
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   4.   Violation of Mr. Williams' visitation rights: 28CFR540.45.( See Exhibit 4). Mr. Williams' families,
        friends and children lives on the mainland. It is a hardship for any of them to fly to Hawaii and
        visit him. I am the only friend that presently lives in Oahu.
        a. From December 2018 - February 2018: I was approved as a family friend visitor. My
             visitation was suddenly revoked on Feb. 10, 2018 with no known breach or violation on my
             part. FDC did not give me or Mr. Williams any legitimate reason why my visitation was
             revoked.
        b. On June 30, 2018, I re-applied as a Minister Visitor with all the required Ministerial
             certification and FDC requirements were met, however, Chaplain Alan Urasaki did not
             approve my visitation and he refused to give me the answer, instead, he directed me to look
             it up on the BOP website, which I was not able to find the answer, it was like "looking for a
             needle in a hay stack!"
        c.   A third 'regular' visitation application form was again filled out and re-sent since January 23,
             2019. My visitation approval is still pending to date.

   5.   Mr. Williams asked me to obtain a newspaper subscription for him from USA Today to be
        delivered Monday to Friday. The Subscription started January 10th, 2019. However, since then,
        FDC staff was only giving his daily newspaper sporadically. I called USA Today, customer service
        to follow up: 1.) January 17, 2019, and 2). February 28th, 2019. At both times, customer service
        personnel at USA Today confirmed that the newspapers were being delivered to FDC daily:
        Monday to Friday. However, Mr. Williams rarely receives his newspaper. On March 29th, 2019. I
        cancelled the subscription. (See Exhibit 5).
   6.   According to Mr. Williams, at present, FDC only have 3 computers available to use by 100
        inmates in his unit and it's on a first come first serve basis, out in public view, with no privacy
        when doing his discory research.
        a. In 2018, I remember in one of your hearing that you ruled: "being Mr. Williams is Pro Se,
           that he is allowed to have eight (8 hours) of computer access, so he can research his
           discovery discs, in private, in order for him to have the time he needed to prepare for his
           trial." However, when Mr. Williams had another hearing by another Magistrate, Judge Barry
            Kurren, he shorten Mr. Williams' hours to view his discovery discs down to "two hours and
          on a first come first serve" basis.
      b. The hearing held on April 4, 2018, Prosecutor, Greg Paris Yates, was ordered by Judge
           Kurren to implement his ruling. Mr. Yates informed the court at that time, that "he will look
           into the matter so that Mr. Williams will have his own privacy and time to do his discovery
           research." However, according to Mr. Williams, to date, Mr. Yates never followed through
           and ruling by Magistrate Kurren was never implemented.
   7. Trial by Jury continuance for the seventh time (7th times), is a downright violation of Mr.
      Williams' Constitutional Rights which is the government's dirty tactic to further delay his
        unlawful incarceration.
   8.   According to Mr. Williams, started April 1st, 2019, FDC put a sanction that he can not make a
        phone call or receive any phone calls from his family and friends for 30 days because "he asked
        a question to the visiting BOP personnel from the mainland and made his concerns known."
        Because of this, officer Ponimoi wrote him up, wrote false statements against Mr. Williams, to
        punish him for speaking out, as a result, they abrogated his phone privileges.
        a. Mr. Williams need to have his phone privileges resumed as soon as possible because of the
             following reasons:
             1. FDC again, is violating his Constitutional rights and their actions are considered as
                  harassment, oppression, prejudicial and retaliation for verbalizing his concerns.
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            2.   He needs to talk to his family and friends who all lives on the mainland, especially, he
                 does not receive any emails on the week ends. This deprives him of his family
                 communication, causing him to have undue stress and depression.

In conclusion, I believe that my concerns are validated based upon the facts and the exhibits attached. I
am humbly requesting that Mr. Williams received his fair treatments as an inmate at FDC, the same
treatments and respect like the other inmates. "A man is innocent until proven guilty." He is a man of
honesty, integrity, highly intellectual, considered by many as a genius. Unfortunately, he is being
unlawfully accused and incarcerated. His verbal boldness in expressing his concerns should be received
subjectively and FDC staff should be fair in assessing and resolving the issues that are being brought
forward for their awareness, instead of feeling threatened and as a result, he is being mistreated,
retaliated and continue to have his constitutional rights violated.

On behalf of Mr. Williams' family and friends, we believe that you are a fair Magistrate Judge who
ensure fairness and uphold the Constitutional Laws. In all fairness, we are urging you to look into these
issues being brought to your awareness, in our hope of seeking interventions and implementations of
your righteous ruling so Mr. Williams could finally received fair treatments like all the other inmates.
The continued oppression, harassment and retaliation against Mr. Williams are downright disgraceful
and inhumane, which has been going on far too long. We believed that there are still good and honest
magistrates in our judiciary system, which we pray that you are one of them. May the blessings of
Yahweh Elohim Yahsua continues to befall you and your family.

We look forward to your respected and fair ruling on April gth, 2019 and we pray that the
implementation of your ruling, will finally justify the ending of their maltreatments towards Mr. Williams
for the past three years of his unlawful incarceration.

Respectfully yours,




Elder Rosy S. Esprecion
